                              Case 21-01167-abl      Doc 77      Entered 04/29/22 11:09:24    Page 1 of 4


                        1     GARMAN TURNER GORDON LLP                      MICHAEL D. NAPOLI, ESQ.
                              GERALD M. GORDON                              Pro hac vice
                        2     Nevada Bar No. 229                            AKERMAN LLP
                              E-mail: ggordon@gtg.legal                     2001 Ross Avenue, Suite 3600
                        3
                              WILLIAM M. NOALL                              Dallas, Texas 75201
                        4     Nevada Bar No. 3549                           Tel: (214) 720-4360 / Fax: (214) 720-8116
                              E-mail: wnoall@gtg.legal                      Email: michael.napoli@akerman.com
                        5     GABRIELLE A. HAMM                             ARIEL E. STERN, ESQ.
                              Nevada Bar No. 11588
                        6                                                   Nevada Bar No. 8276
                              E-mail: ghamm@gtg.legal                       AKERMAN LLP
                              7251 Amigo St., Suite 210
                        7                                                   1635 Village Center Circle, Suite 200
                              Las Vegas, Nevada 89119
                                                                            Las Vegas, Nevada 89134
                        8     Tel: (725) 777-3000 / Fax: (725) 777-3112     Tel: (702) 634-5000 / Fax: (702) 380-8572
                                                                            Email: ariel.stern@akerman.com
                        9
                              Attorneys for Tecumseh–Infinity Medical
                      10      Receivable Fund, LP

                      11                        IN THE UNITED STATES BANKRUPTCY COURT
                                                      FOR THE DISTRICT OF NEVADA
                      12
                               In re:                                       Case No. 21-14486-abl
                      13
                               INFINITY CAPITAL MANAGEMENT,                 Chapter 7
                      14       INC. dba INFINITY HEALTH
                               CONNECTIONS,
                      15
                                                    Debtor.
                      16       HASELECT-MEDICAL RECEIVABLES                 Adversary Case No. 21-01167-abl
                               LITIGATION FINANCE FUND
                      17       INTERNATIONAL SP,
                      18                            Plaintiff,              DECLARATION OF GABRIELLE A.
                      19       v.                                           HAMM IN SUPPORT OF OPPOSITION
                                                                            TO MOTION FOR PARTIAL
                      20       TECUMSEH–INFINITY MEDICAL                    SUMMARY JUDGMENT AS TO
                               RECEIVABLES FUND, LP,                        CERTAIN DISPUTED RECEIVABLES
                      21                            Defendant.
                      22       TECUMSEH–INFINITY MEDICAL
                               RECEIVABLES FUND, LP,
                      23
                                                    Counter-Claimant,
                      24       v.
                                                                            Date:    May 26, 2022
                      25       HASELECT-MEDICAL RECEIVABLES                 Time:    9:30 a.m.
                               LITIGATION FINANCE FUND
                      26
                               INTERNATIONAL SP; ROBERT E.
                      27       ATKINSON, CHAPTER 7 TRUSTEE,

                      28                            Counter-Defendants.
  Garman Turner Gordon
     Attorneys at Law
7251 Amigo Street, Ste. 210
   Las Vegas, NV 89119
      725-777-3000
                                  Case 21-01167-abl         Doc 77       Entered 04/29/22 11:09:24             Page 2 of 4


                        1         ROBERT E. ATKINSON, CHAPTER 7
                                  TRUSTEE,
                        2
                                                           Counter-Claimant,
                        3         v.
                        4         TECUMSEH–INFINITY MEDICAL
                                  RECEIVABLES FUND, LP,
                        5
                                                           Counter-Defendant.
                        6

                        7              I, GABRIELLE A. HAMM, hereby declare as follows pursuant to 28 U.S.C. § 1746:

                        8              1.      I am an attorney licensed to practice law in the State of Nevada and am an attorney

                        9     at the law firm of Garman Turner Gordon LLP, attorneys for Defendant and Counterclaimant

                      10      Tecumseh–Infinity Medical Receivable Fund, LP (“Tecumseh”). I am competent to testify to the

                      11      matters asserted herein, of which I have personal knowledge.

                      12               2.      I make this Declaration in support of Tecumseh’s opposition (the “Opposition”)1

                      13      to Plaintiff HASelect-Medical Receivables Litigation Finance Fund International, SP’s Motion for

                      14      Partial Summary Judgment as to Certain Disputed Receivables [ECF No. 53] (the “Motion”) and

                      15      pursuant to Rule 56(d) of the Federal Rules of Civil Procedure.

                      16               3.      Tecumseh argues in its Opposition that HASelect’s Motion turns on a material and

                      17      disputed question of fact: whether the Debtor purchased and then resold the Disputed Receivables

                      18      to Tecumseh or acquired the Disputed Receivables on Tecumseh’s behalf and for its benefit. In its

                      19      HASelect contends in its Motion that the former is true, arguing that “[e]ach of the Sold Accounts

                      20      was purchased by Infinity using funds paid from its operating account at Nevada State Bank prior

                      21      to the sale or assignment of any interest in such Sold Account to Tecumseh and prior to the receipt

                      22      of payment from Tecumseh,”2 i.e., that Tecumseh purchased receivables that were property of the

                      23      Debtor and subject to HASelect’s prior lien. Further, while HASelect contends that the Debtor sold

                      24      the Disputed Receivables without HASelect’s knowledge or consent and in violation of the

                      25      Debtor’s contractual obligations to HASelect,3 there is evidence that HASelect consented to the

                      26
                              1
                      27        Capitalized terms not defined herein shall have the meanings ascribed to them in the Opposition.
                              2
                                Motion, at ¶ 35.
                      28      3
                                Motion, at ¶ 13.
  Garman Turner Gordon
     Attorneys at Law
7251 Amigo Street, Ste. 210                                                            2
   Las Vegas, NV 89119
      725-777-3000
                                  Case 21-01167-abl       Doc 77      Entered 04/29/22 11:09:24           Page 3 of 4


                        1     sale of at least some of the Disputed Receivables in order to receive payment from the Debtor.

                        2     However, Tecumseh does not have the discovery necessary to respond to HASelect’s factual

                        3     statements, including discovery regarding the dates of transactions with medical service providers

                        4     and discovery regarding HASelect’s knowledge of Tecumseh’s purchase of Disputed Receivables.

                        5             4.      The bulk of discovery remains to be completed, with the discovery period not

                        6     ending until September 30, 2022.4 No depositions have been taken and document discovery is

                        7     substantially incomplete. As between the parties, HASelect has not yet provided responses or

                        8     produced documents in response to Tecumseh’s First Request for Production of Documents to

                        9     HASelect-Medical Receivables Litigation Finance Fund International, SP, served on March 29,

                      10      2022, and Tecumseh is continuing to gather and produce documents in response to the document

                      11      request propounded by HASelect.

                      12              5.      With respect to third parties, multiple subpoenas to third parties pertaining to the

                      13      Debtor’s accounting and financial records, internal receivables database, and email

                      14      correspondence remain outstanding in the Chapter 7 case, or, to the extent documents have been

                      15      produced to HASelect, they have not been produced to Tecumseh. These include subpoenas to the

                      16      following: (1) Xero Inc., the Debtor’s accounting software company, for the Debtor’s accounting

                      17      records;5 (2) Tailor Made Servers, for information regarding the Debtor’s data storage systems and

                      18      alteration or deletion of the debtor’s electronically stored information;6 (3) Nevada State Bank, for

                      19      the Debtor’s banking records, which would include records of payments from Debtor’s accounts

                      20      to the medical service providers;7 (4) GPMicro, Inc., a non-debtor affiliate of the Debtor

                      21      purportedly in possession of the Debtor’s emails;8 and (5) individuals who provided IT services to

                      22      the Debtor, for information relating to the Debtor’s records and electronically stored information.9

                      23

                      24

                      25      4
                                ECF No. 49, at Page 7 of 10.
                              5
                                Case No. 21-14486-abl, ECF No. 207.
                      26      6
                                Id., ECF No. 206.
                              7
                      27        Id., ECF No. 142.
                              8
                                Id., ECF No. 161.
                      28      9
                                Id., ECF No. 193 (subpoena to Robert Land) and ECF No. 204 (subpoena to Kevin Grimes).
  Garman Turner Gordon
     Attorneys at Law
7251 Amigo Street, Ste. 210                                                         3
   Las Vegas, NV 89119
      725-777-3000
                               Case 21-01167-abl        Doc 77     Entered 04/29/22 11:09:24        Page 4 of 4


                        1            6.      No witnesses have been deposed in this case. While 2004 examinations of Oliver

                        2     Hemmers and Anne Pantelas took place in November of 2021, prior to the filing of HASelect’s

                        3     First Amended Complaint [ECF No. 21],10 HASelect’s counsel objected to questioning directed to

                        4     the claims or defenses at issue in this adversary proceeding on the basis of the pending proceeding

                        5     rule. Thus, Tecumseh has not had the opportunity to question the Debtor’s principals regarding the

                        6     process for purchasing the Disputed Receivables, payment to the medical providers,

                        7     communications with HASelect, or other matters relating to the claims and defenses in this case.

                        8     Tecumseh also requires the deposition of HASelect’s representative. However, I believe that

                        9     depositions prior to the substantial completion of document discovery are premature.

                      10             7.      In order to gather necessary facts to support the Opposition to HASelect’s Motion,

                      11      Tecumseh must be allowed to complete pending discovery, propound additional discovery, and

                      12      take depositions regarding Debtor’s process for identifying receivables, negotiating a purchase

                      13      price, and processing the sales with respect to the subject transactions, Debtor’s general accounting

                      14      practices and its handling and accounting of Tecumseh’s funds and the payments made to medical

                      15      providers, communications between the Debtor and medical providers regarding the subject

                      16      receivables and payment for the receivables, Debtor’s records regarding the transactions, and

                      17      communications between the Debtor and HASelect relative to HASelect’s knowledge of and

                      18      acquiescence to Tecumseh’s purchases.

                      19             I declare under penalty of perjury under the laws of the United States of America that the

                      20      foregoing is true and correct.

                      21             Dated April 29, 2022.

                      22                                                        /s/ Gabrielle A. Hamm
                                                                                GABRIELLE A. HAMM
                      23

                      24

                      25

                      26

                      27
                              10
                               The First Amended Complaint was filed on December 10, 2021. The Amended First Amended Complaint [ECF
                      28      No. 24] was filed on December 31, 2021 to correct the caption due to a Notice of Docketing Error.
  Garman Turner Gordon
     Attorneys at Law
7251 Amigo Street, Ste. 210                                                    4
   Las Vegas, NV 89119
      725-777-3000
